                                                                                   ORDER:
                                                                                   _______
                                                                                   A hearing on this motion is
                                                                                   set for October 24, 2012, at
                                                                                   11:00 a.m.
                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                                                                   s/ John S. Bryant
                                  COLUMBIA DIVISION
                                                                                   U.S. Magistrate Judge
UNITED STATES OF AMERICA                        )
                                                )
vs.                                             )        No. 1:11-00010
                                                )        Judge Sharp
LARRY BLY                                       )        Magistrate Judge Bryant

                       MOTION TO ASCERTAIN STATUS
                    OF COUNSEL’S APPOINTMENT IN LIGHT
             OF DEFENDANT’S CHANGED FINANCIAL CIRCUMSTANCES

        Larry Bly, by and through counsel, hereby moves this Honorable Court to schedule a status

conference to determine whether a change in his financial circumstances has impacted his

entitlement to appointed counsel under the Criminal Justice Act. In support of this Motion,

undersigned counsel would show the Court the following:

        1. Undersigned counsel was appointed to represent Mr. Bly on December 16, 2011 upon a

showing of the defendant’s financial condition at that time.

        2. Mr. Bly’s financial circumstances have recently changed. Under 18 U.S.C. § 3006A( c),

if the magistrate judge or the district court “finds that the person is financially able to obtain counsel

or to make partial payment for the representation, it may terminate the appointment of counsel or

authorize payment as provided in subsection (f), as the interests of justice may dictate.”

        3. Under the “Plan of the United States District Court for the Middle District of Tennessee

Pursuant to the Criminal Justice Act of 1964 As Amended,” changed financial circumstances may

require a redetermination of a defendant’s entitlement to appointed counsel:

        If at any time after [her] appointment counsel should have reason to believe that a
        party is financially able to retain counsel or to make a partial payment for counsel,
        [she] shall advise the Court. The Court will then take appropriate action, which may
        include permitting counsel to continue to represent the party with part or all of the
        cost of representation defrayed by such defendant.



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